Case 3:16-md-02738-MAS-RLS      Document 32993    Filed 07/22/24   Page 1 of 2 PageID:
                                     190337



                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY



  IN RE: JOHNSON & JOHNSON                       No. 3:16-md-02738-MAS-RLS
  TALCUM POWDER PRODUCTS
                                                 MDL No. 16-2738 (MAS) (RLS)
  MARKETING, SALES PRACTICES,
  AND PRODUCTS LIABILITY                         Motion Day: TBD
  LITIGATION
                                                 NOTICE OF MOTION TO
                                                 COMPEL DEPOSITION
                                                 TESTIMONY OF PAUL HESS AND
                                                 FOR SANCTIONS

                                                 ORAL ARGUMENT REQUESTED



         PLEASE TAKE NOTICE that on a date to be determined by the

   parties and the Court, the undersigned counsel, pursuant to Federal Rules of

   Civil Procedure 16, 30, and 37 will bring Defendants Johnson & Johnson and

   LLT Management LLC (Defendants)s Motion to Compel Deposition

   Testimony of Paul Hess and Appropriate Sanctions:

         Defendants request that oral argument be held in connection with this

   motion.
Case 3:16-md-02738-MAS-RLS   Document 32993   Filed 07/22/24    Page 2 of 2 PageID:
                                  190338



  Dated: July 22, 2024                Respectfully submitted,

                                      /s/ Kristen R. Fournier
                                      Kristen R. Fournier

                                      KING & SPALDING LLP
                                      1185 Avenue of the Americas
                                      34th Floor
                                      New York, NY 10036
                                      (212) 556-2100
                                      kfournier@kslaw.com

                                      Susan M. Sharko
                                      FAEGRE DRINKER BIDDLE &
                                      REATH LLP
                                      600 Campus Drive
                                      Florham Park, NJ 07932
                                      susan.sharko@faegredrinker.com

                                      Attorneys for Defendants Johnson &
                                      Johnson and LLT Management, LLC




                                     2
